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Fill in this information to identify the case:

Debtor Name

United States Bankruptcy Court for the: Eastern District of

Case number:




Official Form 426
Periodic Report Regarding Value, Operations, and Profitability of Entities
in Which the Debtor’s Estate Holds a Substantial or Controlling Interest
                                                                                                                                            12/17


             This is the Periodic Report as of 09/30/2018 on the value, operations, and profitability of those entities in which a
             Debtor holds, or two or more Debtors collectively hold, a substantial or controlling interest (a “Controlled Non-Debtor
             Entity”), as required by Bankruptcy Rule 2015.3. For purposes of this form, “Debtor” shall include the estate of such
             Debtor.
              Memento Mori, LLC holds a substantial or controlling interest in the following entities:
               Name of Controlled Non-Debtor Entity                                        Interest of the Debtor              Tab #
             Mt. Charleston Landlord, LLC                                                      26.58%                          1




             This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
             Controlled Non-Debtor Entity.

             Each Entity Report consists of five exhibits.
                Exhibit A contains the most recently available: balance sheet, statement of income (loss), statement of cash flows,
                and a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Entity Report,
                along with summarized footnotes.
                Exhibit B describes the Controlled Non-Debtor Entity’s business operations.

                Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

                Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
                allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
                Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
                Entity is a party with any other Controlled Non-Debtor Entity.

                Exhibit E describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or
                professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
                such payments, together with the reason for the entity’s payment thereof or incurrence of any obligation with
                respect thereto.

             This Periodic Report must be signed by a representative of the trustee or debtor in possession.




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Debtor Name     Memento Mori, LLC                                                                Case number 18-04661-5-DMW




              The undersigned, having reviewed the Entity Reports for each Controlled Non-Debtor Entity, and being familiar with the Debtor’s
              financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the
              attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause
              the creation of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3



                                             
              For non-individual
              Debtors:
                                                Signature of Authorized Individual
                                                 Colin Crossman, Manager
                                                Printed name of Authorized Individual

                                                Date    10/16/2018
                                                         MM / DD / YYYY

              For individual Debtors:
                                                                                                      
                                                Signature of Debtor 1                                      Signature of Debtor 2


                                                Printed name of Debtor 1                                   Printed name of Debtor 2

                                                Date                                                       Date
                                                       MM / DD / YYYY                                             MM / DD / YYYY




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Debtor Name     Memento Mori, LLC                                                                Case number 18-04661-5-DMW




              Exhibit A: Financial Statements for Mt. Charleston Landlord, LLC




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Debtor Name     Memento Mori, LLC                                                                             Case number 18-04661-5-DMW




              Exhibit A-1: Balance Sheet for Mt. Charleston Landlord, LLC as of September 30, 2018


          The attached balance sheet covers the most recent 3-month period of the current fiscal year (Q3). The subject entity was formed
          on 3/13/2018, so there is no balance sheet for 2017. This information was pulled from Quickbooks.
                                                          Mt Charleston Landlord                            7:39 PM

                                                                 Balance Sheet                            10/14/2018
                                                           As of September 30, 2018                   Accrual Basis
                                                                                                      Sep 30, 18

                                      ASSETS
                                          Current Assets
                                               Checking/Savings
                                                        100001 · Bank of America                              -79.80

                                               Total Checking/Savings                                         -79.80

                                          Total Current Assets                                                -79.80
                                          Other Assets
                                               180000 · Acquisition and Rehab
                                                        Acquisition Costs                               4,817,041.67
                                                        Broker Fee                                        194,350.00
                                                        Legal Fees                                         43,599.89
                                                        Loan Document Preparation Fee                       1,500.00
                                                        Loan Origination Fee                              158,850.00
                                                        Survey                                              7,370.00
                                                        Tax Verification Fee                               24,480.00
                                                        Title Examination                                   3,013.25
                                                        Title Insurance                                     7,613.05

                                               Total 180000 · Acquisition and Rehab                     5,257,817.86

                                          Total Other Assets                                            5,257,817.86
                                      TOTAL ASSETS                                                      5,257,738.06

                                      LIABILITIES & EQUITY
                                          Liabilities
                                               Current Liabilities
                                                        Accounts Payable
                                                             200000 · Accounts Payable                     90,714.75

                                                        Total Accounts Payable                             90,714.75
                                                        Other Current Liabilities
                                                             247000 · Rental Deposits                      64,989.94
                                                             248000 · Tenant Security Deposits Held         1,000.00
                                                             270999 · Accrued Interest Payable             22,300.00

                                                        Total Other Current Liabilities                    88,289.94

                                               Total Current Liabilities                                  179,004.69
                                               Long Term Liabilities
                                                        270000 · Loans from Others                      1,228,409.17
                                                        280000 · Mortgages                              3,530,000.00

                                               Total Long Term Liabilities                              4,758,409.17

                                          Total Liabilities                                             4,937,413.86
                                          Equity
                                               311000 · Common
                                                        300100 · Memento Mori, LLC                           100.00
                                                        311002 · Boutique NV, LLC                            276.25

                                               Total 311000 · Common                                         376.25
                                               312000 · Series A
                                                        312001 · Chris Klutch                             175,000.00
                                                        312002 · TriHelix Investments                     100,000.00
                                                        312003 · Jeff Lyons                                75,000.00
                                                        312004 · Jason Lyons                               25,000.00
                                                        312005 · David Gardner                               250.00
                                                        312006 · MHK Holdings II, LLC                        250.00

                                               Total 312000 · Series A                                    375,500.00
                                               390000 · Membership Units
                                                        390001 · Memento Mori, LLC                          2,000.00
                                                        390002 · Boutique NV, LLC                           5,525.00
                                                        390003 · Chris Klutch                                875.00
                                                        390004 · TriHelix Investments                        600.00
                                                        390005 · Jeff Lyons                                  375.00
                                                        390006 · Jason Lyons                                 125.00
                                                        390007 · MHK Holdings 2, LLC                         250.00
                                                        390008 · David Gardner                               250.00
                                                        399999 · Membership Units Negator                 -10,000.00

                                               Total 390000 · Membership Units                                     0.00
                                               Net Income                                                 -55,552.05

                                          Total Equity                                                    320,324.20
                                      TOTAL LIABILITIES & EQUITY                                        5,257,738.06




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Debtor Name     Memento Mori, LLC                                                                Case number 18-04661-5-DMW




              Exhibit A-2: Statement of Income (Loss) for Mt. Charleston Landlord, LLC for period ending September 30, 2018


              This statement covers 1/1/18 to 9/30/18 (end of the most recent quarter). The company was founded on 3/13/2018, so there is
              no 2017 statement.

                                Mt Charleston Landlord                                               7:39 PM

                                        Profit & Loss                                              10/14/2018
                            January through September 2018                                     Accrual Basis
                                                                                              Jan - Sep 18

                 Ordinary Income/Expense
                     Income
                          489000 · Lease Income                                                     10,833.33

                     Total Income                                                                   10,833.33
                     Expense
                          610000 · General & Administrative
                               610200 · Dues and Subscriptions                                          75.59
                               610700 · Computer and Internet Expenses                                 101.55
                               610000 · General & Administrative - Other                                24.12

                          Total 610000 · General & Administrative                                      201.26
                          640000 · Miscellaneous Expense                                               700.00
                          650000 · Finance & Insurance
                               651000 · Finance
                                      651100 · Bank Service Charges                                    179.80
                                      651200 · Interest Expense                                     64,600.00

                               Total 651000 · Finance                                               64,779.80

                          Total 650000 · Finance & Insurance                                        64,779.80
                          680000 · Utilities
                               680200 · Communications                                                 497.34

                          Total 680000 · Utilities                                                     497.34
                          690000 · Taxes, Licenses & Reg Fees
                               690002 · Property                                                       206.98

                          Total 690000 · Taxes, Licenses & Reg Fees                                    206.98

                     Total Expense                                                                  66,385.38

                 Net Ordinary Income                                                               -55,552.05
          Net Income                                                                               -55,552.05




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Debtor Name     Memento Mori, LLC                                                                   Case number 18-04661-5-DMW




              Exhibit A-3: Statement of Cash Flows for Mt. Charleston Landlord, LLC for period ending September 30, 2018



 This statement covers 1/1/18 to 9/30/18 (end of the most recent quarter). The company was founded on 3/13/2018, so there is no 2017
 statement.

                                                      Mt Charleston Landlord                                            7:41 PM

                                                  Statement of Cash Flows                                             10/14/2018
                                                  January through September 2018
                                                                                                                  Jan - Sep 18

                               OPERATING ACTIVITIES
                                     Net Income                                                                       -55,552.05
                                     Adjustments to reconcile Net Income
                                     to net cash provided by operations:
                                          200000 · Accounts Payable                                                    90,714.75
                                          247000 · Rental Deposits                                                     64,989.94
                                          248000 · Tenant Security Deposits Held                                        1,000.00
                                          270999 · Accrued Interest Payable                                            22,300.00

                               Net cash provided by Operating Activities                                              123,452.64
                               INVESTING ACTIVITIES
                                     180000 · Acquisition and Rehab:Acquisition Costs                               -4,817,041.67
                                     180000 · Acquisition and Rehab:Broker Fee                                       -194,350.00
                                     180000 · Acquisition and Rehab:Legal Fees                                        -43,599.89
                                     180000 · Acquisition and Rehab:Loan Document Preparation Fee                       -1,500.00
                                     180000 · Acquisition and Rehab:Loan Origination Fee                             -158,850.00
                                     180000 · Acquisition and Rehab:Survey                                              -7,370.00
                                     180000 · Acquisition and Rehab:Tax Verification Fee                              -24,480.00
                                     180000 · Acquisition and Rehab:Title Examination                                   -3,013.25
                                     180000 · Acquisition and Rehab:Title Insurance                                     -7,613.05

                               Net cash provided by Investing Activities                                            -5,257,817.86
                               FINANCING ACTIVITIES
                                     270000 · Loans from Others                                                     1,228,409.17
                                     280000 · Mortgages                                                             3,530,000.00
                                     311000 · Common:300100 · Memento Mori, LLC                                           100.00
                                     311000 · Common:311002 · Boutique NV, LLC                                            276.25
                                     312000 · Series A:312001 · Chris Klutch                                          175,000.00
                                     312000 · Series A:312002 · TriHelix Investments                                  100,000.00
                                     312000 · Series A:312003 · Jeff Lyons                                             75,000.00
                                     312000 · Series A:312004 · Jason Lyons                                            25,000.00
                                     312000 · Series A:312005 · David Gardner                                             250.00
                                     312000 · Series A:312006 · MHK Holdings II, LLC                                      250.00
                                     390000 · Membership Units:390001 · Memento Mori, LLC                               2,000.00
                                     390000 · Membership Units:390002 · Boutique NV, LLC                                5,525.00
                                     390000 · Membership Units:390003 · Chris Klutch                                      875.00
                                     390000 · Membership Units:390004 · TriHelix Investments                              600.00
                                     390000 · Membership Units:390005 · Jeff Lyons                                        375.00
                                     390000 · Membership Units:390006 · Jason Lyons                                       125.00
                                     390000 · Membership Units:390007 · MHK Holdings 2, LLC                               250.00
                                     390000 · Membership Units:390008 · David Gardner                                     250.00
                                     390000 · Membership Units:399999 · Membership Units Negator                      -10,000.00

                               Net cash provided by Financing Activities                                            5,134,285.42

                          Net cash increase for period                                                                    -79.80
                      Cash at end of period                                                                               -79.80


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Debtor Name     Memento Mori, LLC                                                                Case number 18-04661-5-DMW




              Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity (Deficit) for Mt. Charleston Landlord, LLC for
              period ending September 30, 2018


              [Provide a statement of changes in shareholders’/partners equity (deficit) for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                       the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

               Describe the source of this information.]




               Since the company was not in existence prior to 3/13/2018, there are no changes for the prior fiscal year. In the period
               between 1/1/2018 and 9/30/2018, the ownership underwent the following changes:

               Mt Charleston Landlord authorized to issue 10,000 units.

               Memento Mori, LLC (debtor) issued 2,000 units

               Boutique NV, LLC issued 5,525 units

               Currently, the remaining 2,475 remain unissued, however they are pledged for conversion therefore:

               In exchange for converting debt to equity:
               Chris Klutch: 875
               Jeff Lyons: 375
               Jason Lyons: 125
               TriHelix: 500

               In exchange for issuing debt:
               TriHelix: 100
               David Gardner: 250
               MHK Holdings 2: 250

               This issuance is only contingent on the parties accepting the operating agreement.




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Debtor Name     Memento Mori, LLC                                                                Case number 18-04661-5-DMW




              Exhibit B: Description of Operations for Mt. Charleston Landlord, LLC


              [Describe the nature and extent of the Debtor’s interest in the Controlled Non-Debtor Entity.

              Describe the business conducted and intended to be conducted by the Controlled Non-Debtor Entity, focusing on the
              entity’s dominant business segments.

              Describe the source of this information.]


              Mt Charleston Landlord, LLC is a real estate holding company to hold and lease the asset at 2755 Kyle Canyon Road, Mount
              Charleston, NV 89124 to the operator, Boutique NV, LLC. Debtor’s interest is as an investor and does not actively participate
              in the operations.




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Debtor Name     Memento Mori, LLC                                                                Case number 18-04661-5-DMW




              Exhibit C: Description of Intercompany Claims


              [List and describe the Controlled Non-Debtor Entity’s claims against any other Controlled Non-Debtor Entity, together with
              the basis for such claims and whether each claim is contingent, unliquidated or disputed.

              Describe the source of this information.]

              None.




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Debtor Name     Memento Mori, LLC                                                                Case number 18-04661-5-DMW




              Exhibit D: Allocation of Tax Liabilities and Assets


              [Describe how income, losses, tax payments, tax refunds, or other tax attributes relating to federal, state, or local taxes
              have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled Non-Debtor
              Entities.

              Include a copy of each tax sharing or tax allocation agreement to which the entity is a party with any other Controlled
              Non-Debtor Entity.

              Describe the source of this information.]


              All allocations are done on a pro-rata basis based on percentage ownership, as outlined in the operating agreement.




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Debtor Name     Memento Mori, LLC                                                                Case number 18-04661-5-DMW




              Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administrative Expenses, or Professional Fees
              otherwise payable by a Debtor


              [Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
              connection with any claims, administrative expenses, or professional fees that have been or could be asserted against
              any Debtor.

              Describe the source of this information.]


              None.




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